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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

                                                  )
  KIERAN RAVI BHATTACHARYA                        )
                                                  )
                     Plaintiff,                   )
                                                  )
  v.                                              )    Civil Action No.: 3:19-CV-00054
                                                  )
  JAMES B. MURRAY, JR., et. al.,                  )
                                                  )
                                                  )
                    Defendants.                   )
                                                  )

              PLAINTIFF’S MOTION TO QUASH SUBPOENA DUCES TECUM

         Pursuant to Federal Rules of Civil Procedure 26(b)(1) and 45, Plaintiff Kieran Ravi

  Bhattacharya (“Mr. Bhattacharya”), by counsel, moves to quash or modify the subpoena duces

  tecum issued to Metropolitan Psychiatric Services (“MPS”) by Defendants in the above-captioned

  matter. In support of his Motion to Quash, Mr. Bhattacharya respectfully states as follows:

         1.       On July 13, 2021, Defendants issued a subpoena duces tecum upon MPS (the

  “Subpoena”) in connection with the above-referenced case. A copy of the Subpoena is attached

  as Exhibit 1.

         2.       MPS is a healthcare provider that is required to comply with state and federal

  privacy laws, including Virginia Code § 32.1-127.1:03, Subpart E of the Health Insurance

  Portability and Accountability Act of 1996 (“HIPPA”), and 42 C.F.R. Part 2.

         3.       Pursuant to Virginia Code § 32.1-127.1:03, HIPPA (42 U.S.C. 1320-d), and 42

  C.F.R. § 164.502, MPS is prohibited from disclosing Protected Health Information, defined to

  include all “individually identifiable health information[.]” 42 U.S.C. § 1320d-6. Individually

  identifiable health information includes information that “relates to the individual’s past, present
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  or future physical or mental health or condition; the provision of health care to the individual; or

  the past, present, or future payment for the provision of health care to the individual[.]” 45 C.F.R.

  § 160.103.     The Subpoena requests “all medical records, narrative reports, doctor’s notes,

  therapists’ notes, nurses’ notes, chronological records of visits, histories, test results, x-ray reports,

  medications, patient registration and/or information forms, bills and charges for services, insurance

  forms and all other documents[.]” The documents requested clearly constitute Protected Health

  Information as defined in 45 C.F.R. § 160.103.

          4.      Federal Rule of Civil Procedure 45(3)(A)(iii) provides that, upon timely motion,

  this Court must quash or modify a subpoena that “requires disclosure of privileged or other

  protected matter, if no exception or waiver applies[.]” Accordingly, this Court must quash or

  modify the subpoena to the extent that it seeks Protected Health Information.

          5.      In addition, the Subpoena seeks discovery that is beyond the permissible scope of

  discovery permitted by Federal Rule of Civil Procedure 26(b)(1) in that the documents sought are

  not “relevant to any party's claim or defense and proportional to the needs of the case, considering

  the importance of the issues at stake in the action, the amount in controversy, the parties’ relative

  access to relevant information, the parties’ resources, the importance of the discovery in resolving

  the issues, and whether the burden or expense of the proposed discovery outweighs its likely

  benefit.” The health records that Defendants seek to obtain from the Subpoena were not cited by

  nor known to Defendants at the time that they suspended Plaintiff from UVA Med School and thus

  do not serve to explain or justify their retaliation against Mr. Bhattacharya for his questions and

  comments at the AMWA Microaggression Panel Discussion.

          6.      Accordingly, Plaintiff respectfully requests that this Court quash the Subpoena

  because it seeks documents and information that are protected by state and federal privacy laws



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  and are not within the scope of permissible discovery under Federal Rule of Civil Procedure

  26(b)(1).



   Date: July 28, 2021                            Respectfully submitted,

                                                  KIERAN RAVI BHATTACHARYA

                                                  By: /s/ Michael J. Lockerby
                                                  Counsel

                                                  Michael J. Lockerby (VSB No. 24003)
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                                                  Kieran Ravi Bhattacharya




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                                         CERTIFICATE OF SERVICE

                 I hereby certify that on this 28th day of July 2021, I electronically filed the foregoing

        PLAINTIFF’S MOTION TO QUASH SUBPOENA DUCES TECUM with the Clerk of the Court

        using the CM/ECF system and will send the foregoing via email to the following counsel of record

        for Defendants:

                               Madeline M. Gibson, Esq.,
                               Assistant Attorney General
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